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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 NANOCO TECHNOLOGIES LTD.,                       §
                                                 §
                 Plaintiff,
                                                 §
 v.                                              §
                                                 §     CIVIL ACTION NO. 2:25-CV-431-JRG
 LG ELECTRONICS INC. and LG
 ELECTRONICS U.S.A., INC.,                       §
                                                 §
                 Defendants.                     §

                                             ORDER

         Before the Court is the Unopposed Motion for Extension of Time to Move, Answer, or

Otherwise Respond to Plaintiff’s Complaint and Waiver of Foreign Service Requirement filed by

Defendants LG Electronics Inc. and LG Electronics U.S.A., Inc. (Dkt. No. 13). In the Motion,

Defendant LG Electronics Inc., a foreign entity, agrees to waive service under the Hauge

Convention in exchange for an extension of time for itself and Defendant LG Electronics U.S.A.,

Inc., a domestic entity, to move, answer, or otherwise respond to Plaintiff’s Complaint. (Id. at 1).

Defendants request a ninety (90) day extension of such deadline. The Motion is unopposed. (Id.

at 3).

         Accordingly, the Court finds that Defendant LG Electronics Inc. has WAIVED service of

process under the Hague Convention. Further, having considered the Motion in view of the

aforementioned waiver, and noting that it is unopposed, the Court is of the opinion that it should

be and hereby is GRANTED. It is therefore ORDERED that Defendants’ deadline to move,

answer, or otherwise respond to Plaintiff’s Complaint is EXTENDED up to and including August

29, 2025.
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  So ORDERED and SIGNED this 29th day of May, 2025.




                                           ____________________________________
                                           RODNEY GILSTRAP
                                           UNITED STATES DISTRICT JUDGE




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